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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA               )
                                       )           CRIMINAL ACTION NO.
        v.                             )             2:11cr191-MHT
                                       )                  (WO)
CHRISTOPHER DARIN ALLOWAY              )

                                     ORDER

       Based on the representations made on the record on

November 13, 2015, it is ORDERED as follows:

       (1)     The     defendant’s         motions      for     retroactive

application       of   sentencing      guidelines          under    Amendment

782    (doc.     no.   542)    and    to     expedite      ruling    on   that

motion (doc. no. 547) are set for a hearing on December

7, 2015, at 1:00 p.m., in Courtroom 2FMJ of the Frank

M. Johnson Jr. United States Courthouse Complex, One

Church Street, Montgomery, Alabama.

       (2) Defense counsel is to file a pre-hearing brief

by no later than noon on November 30, 2015, setting out

the       defendant’s         position        as      to      whether      his

post-sentencing          conduct      should        preclude       him    from

receiving a sentence reduction, or limit the reduction
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he receives, pursuant to U.S.S.G. § 1B1.10 cmt. no.

1(B)(iii), and the government is to file a response by

no later than noon on December 4, 2015.

    DONE, this the 16th day of November, 2015.

                                     /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
